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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                     Plaintiffs,
                                                              Civil Action No. 3:22-cv-49
      v.

      MAST et al.,

                     Defendants.


                       FEDERAL DEFENDANTS’ MOTION TO SEAL

            Nominal Defendants the United States Secretary of State Antony Blinken and

     United States Secretary of Defense General Lloyd Austin (“Nominal Defendants”)

     move the Court pursuant to Local Civil Rule 9 for leave to file an unredacted copy of

     their Memorandum in Support of their Motion for Protective Order [public version

     filed April 17, 2023 at ECF 204], as well as Exhibits A and B to that Memorandum,

     under seal. In support thereof, Federal Defendants state as follows:

            Nominal Defendants’ Memorandum as well as Exhibit B—a letter from counsel

     for Nominal Defendants to counsel for Richard Mast—reference another judicial

     proceeding in which the Court has allowed the plaintiffs to proceed by pseudonym and

     has entered sealing orders covering certain information. In order to avoid referencing

     that proceeding in a way that may be deemed to violate the pseudonym and sealing

     orders in effect in that case, Nominal Defendants have redacted certain information

     from their publicly-filed Memorandum and Exhibit B and seek leave to file the

     unredacted version of the Memorandum under seal. No other information in the
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     Memorandum is redacted. In Exhibit B, the only other information that Nominal

     Defendants redacted consists of names of certain federal employees that, as explained

     in Nominal Defendants’ prior Response regarding Plaintiffs’ Motion for Protective

     Order, Nominal Defendants seek to protect from public disclosure due to individual

     privacy interests. The relief sought therefore is narrowly tailored to protect only the

     same information that has already been held to be properly under seal in another

     proceeding, and this Court has previously granted Nominal Defendants’ prior Motion

     to Seal their unredacted Answer on the same grounds. The requirements of Local Civil

     Rule 9(b) are therefore satisfied here. Nominal Defendants request that the unredacted

     Memorandum and Exhibit B be kept under seal pending any modification to the

     Court’s sealing order in the other case that would allow the unredacted Memorandum,

     and a less-redacted version of Exhibit B, to be filed publicly.

            Nominal Defendants also seek leave to file Exhibit A under seal in its entirety

     pending review by other parties, and Nominal Defendants also request that certain

     names of federal employees be maintained under seal. Exhibit A references names and

     telephone numbers that, in Nominal Defendants’ understanding, Plaintiffs may deem

     to be covered by other pseudonym and sealing orders previously issued in this case, as

     well as names of federal employees that, as explained in Nominal Defendants’ prior

     Response regarding Plaintiffs’ Motion for Protective Order, Nominal Defendants seek

     to protect from public disclosure due to individual privacy interests. It is also possible

     that Exhibit A contains other information other parties in the case deem sensitive.

     Placing Exhibit A entirely under seal temporarily will allow other parties to identify to
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     Nominal Defendants any information they believe should be kept under seal, and

     Nominal Defendants will then file a redacted public version of Exhibit A.

     April 17, 2023                            Respectfully submitted,

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                                               Principal Deputy Assistant Attorney General

                                               ALEXANDER K. HAAS
                                               Director, Federal Programs Branch

                                               ANTHONY J. COPPOLINO
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